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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                  3:00cr48/LAC
                                                     3:05cv256/LAC/MD

MELODY ROSE


                         REPORT AND RECOMMENDATION

        This matter is before the court upon a motion to vacate, set aside, or correct
sentence pursuant to 28 U.S.C. §2255 (doc. 1298). The government has filed a
response (doc. 1350) and the defendant has not filed a reply, despite having been
afforded the opportunity to do so. The matter is referred to the undersigned
magistrate judge for report and recommendation pursuant to 28 U.S.C. § 636 and
N.D. Fla. Loc. R. 72.2(B). After a careful review of the record and the arguments
presented, it is the opinion of the undersigned that defendant has not raised any
issue requiring an evidentiary hearing, Rules Governing Section 2255 Cases 8(a) and
(b), and that the motion should be denied.


I. BACKGROUND
        Defendant was charged in 3 counts of a third superseding indictment with
conspiracy to commit wire fraud or securities fraud, conspiracy to engage in or
attempt to engage in a monetary transaction of criminally derived property of a value
greater than $10,000, and knowingly engaging in or attempting to engage in a
monetary transaction involving criminally derived properties on a date certain. (Doc.
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388, counts 1, 2 & 11). The alleged fraud took place as part of a complex “Ponzi”
scheme1 wherein wealthy individuals were induced to invest large sums of money
in exchange for unusually high rates of return. Defendant was represented by
retained counsel Ronald W. Johnson.
        Following a six week jury trial involving eight of the ten charged defendants,
defendant Rose was convicted as charged. (Doc. 492). She filed unsuccessful
motions for judgment of acquittal, motion for a new trial, and for release pending
sentencing (doc. 506, 507 & 499). Attorney Jay Strongwater was granted permission
to appear pro hac vice, and he appeared along with Ronald Johnson at sentencing. 2
(Doc. 629, 630, & 631; doc. 884). Defendant was sentenced to a term of 97 months
imprisonment to be followed by three years of supervised release and restitution in
the amount of $17,415,99.12, jointly and severally with the co-defendants.
        Defendant appealed, raising three grounds for relief. She contended that trial
counsel labored under an actual conflict of interest in representing her, that the trial
court erred in determining the amount of loss attributable to her, and that her
convictions should be reversed because the government presented multiple
conspiracies. The Eleventh Circuit Court of Appeals found that the first issue was
not adequately developed and that she was not entitled to relief on the other two
grounds. Her convictions were affirmed on February 27, 2004. (Doc. 1184).




        1
          Ponzi schemes are a type of illegal pyramid scheme nam ed for Charles Ponzi, who duped thousands
of New England residents into investing in a postage stam p sp ecu lation sche m e ba ck in the 1920 s. Po nzi
thought he could take advantage of differences between U.S. and foreign currencies used to buy and sell
international m ail coupon s. Po nzi told investors that he cou ld provide a 40% return in just 90 days compared
with 5% for bank savings accounts. Ponzi was deluged with funds from investors, taking in $1 million during
one three-hour period. Thou gh a few ea rly investors were paid off to mak e the scheme look legitimate, an
investigation foun d that Pon zi had o nly purc has ed a bout $30 worth of the international mail coupons. Decades
later, the Ponzi schem e continues to work on the "rob-Peter-to-pay-Paul" principle, as money from new
investors is us ed to p ay o ff e arlier in vestors until the whole scheme collapses.
http://www.sec .gov/ans wers/po nzi.htm

        2
            Mr. Strongwater is the attorney who filed the instant § 2255 motion.

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        In the present motion, defendant claims that counsel Ron Johnson was
constitutionally ineffective in several respects and that he labored under an actual
conflict of interest.
II. LEGAL ANALYSIS
A. Ineffective assistance of counsel
        1. General Legal Standards
        Ineffective assistance of counsel claims are generally not cognizable on direct
appeal and are properly raised by a § 2255 motion regardless of whether they could
have been brought on direct appeal. Massaro v. United States, 538 U.S. 500, 503,
123 S.Ct. 1690, 1693, 155 L.Ed.2d 714 (2003); see also United States v. Bender, 290
F.3d 1279, 1284 (11th Cir. 2002); United States v. Jiminez, 983 F.2d 1020, 1022, n. 1
(11th Cir. 1993). To show a violation of his constitutional right to counsel, defendant
must demonstrate both that counsel’s performance was below an objective and
reasonable professional norm and that he was prejudiced by this inadequacy.
Strickland v. Washington, 466 U.S. 668, 686, 104 S.Ct. 2052, 2064, 80 L.Ed.2d (1984);
Williams v. Taylor, 529 U.S. 362, 390, 120 S.Ct. 1495, 1511, 146 L.Ed.2d 389 (2000).
In applying Strickland, the court may dispose of an ineffective assistance claim if
defendant fails to carry his burden on either of the two prongs. 466 U.S. at 697, 104
S.Ct. at 2069.
        In determining whether counsel’s conduct was deficient, this court must, with
much deference, consider “whether counsel’s assistance was reasonable
considering all the circumstances.” Id. at 688, 104 S.Ct. at 2065; see Atkins v.
Singletary, 965 F.2d 952 (11th Cir. 1992). “[R]eviewing courts must indulge a strong
presumption that counsel’s conduct fell within the wide range of reasonably
professional assistance.” Yordan v. Dugger, 909 F.2d 474, 477 (11th Cir. 1990) (citing
Harich v. Dugger, 844 F.2d 1464, 1469 (11th Cir. 1988); Chandler v. United States, 218
F.3d 1305, 1314 (11th Cir. 2000); Lancaster v. Newsome, 880 F.2d 362, 375 (11th Cir.
1989) (emphasizing that petitioner was “not entitled to error-free representation”)).


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Counsel’s performance must be evaluated with a high degree of deference and
without the distorting effects of hindsight. Strickland, 466 U.S. at 689, 104 S.Ct. at
2065.     To show counsel’s performance was unreasonable, a defendant must
establish that “no competent counsel would have taken the action that his counsel
did take.” United State v. Freixas, 332 F.3d 1314, 1319-1320 (11th Cir. 2003). (quoting
Brownlee v. Haley, 306 F.3d 1043, 1059 (11th Cir. 2002)(quoting Strickland, 466 U.S.
at 687, 689-90, 104 S.Ct. at 2064-66 and Chandler v. United States, 218 F.3d 1305,
1315 (11th Cir. 2000) (en banc)).
        With regard to the prejudice requirement, defendant must establish that, but
for counsel’s deficient performance, the outcome of the proceeding would have
been different. Strickland, 466 U.S. at 694, 104 S.Ct. at 2068. For the court to focus
merely on “outcome determination,” however, is insufficient; “[t]o set aside a
conviction or sentence solely because the outcome would have been different but
for counsel’s error may grant the defendant a windfall to which the law does not
entitle him.” Lockhart v. Fretwell, 506 U.S. 364, 369-70, 113 S.Ct. 838, 122 L.Ed.2d
180 (1993). Defendant therefore must establish “that counsel’s errors were so
serious as to deprive the defendant of a fair trial, a trial whose result is reliable.”
Lockhart, 506 U.S. at 369 (quoting Strickland, 466 U.S. at 687). Or in the case of
alleged sentencing errors, defendant must demonstrate that there is a reasonable
probability that, but for counsel’s errors, the result of the proceeding would have
been less harsh due to a reduction in the defendant’s offense level. Glover v. United
States, 531 U.S. 198, 203-04, 121 S.Ct. 696, 700-01, 148 L.Ed.2d 604 (2001). A
significant increase in sentence is not required to establish prejudice, as “any
amount of actual jail time has Sixth Amendment significance.” Id.
        To establish ineffective assistance, defendant must provide factual support
for his contentions regarding counsel’s performance. Smith v. White, 815 F.2d 1401,
1406-07 (11th Cir.), cert. denied, 484 U.S. 863, 108 S.Ct. 181, 98 L.Ed.2d 133 (1987).
Bare, conclusory allegations of ineffective assistance are insufficient to satisfy the


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Strickland test. Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991); Stano v.
Dugger, 901 F.2d 898, 899 (11th Cir. 1990) (citing Blackledge, 431 U.S. at 74, 97 S.Ct.
at 1629).
        Finally, the Eleventh Circuit has recognized that given the principles and
presumptions set forth above, “the cases in which habeas petitioners can properly
prevail . . . are few and far between.” Chandler v. United States, 218 F.3d 1305, 1313
(11th Cir. 2000). This is because the test is not what the best lawyers would have
done or even what most good lawyers would have done, but rather whether some
reasonable lawyer could have acted in the circumstances as defense counsel acted.
Williamson v. Moore, 221 F.3d 1177, 1180 (11th Cir. 2000), cert. denied, 122 S.Ct. 234
(2001).
        Defendant’s ineffective assistance of counsel claims will be considered
against the backdrop of these legal standards.


1. Trial Preparedness
        Defendant contends that counsel was unprepared for trial, cross-examination
of witnesses, and presentation of a defense. She claims, without record citation,
that the court “reprimanded counsel for his lack of preparation and focus.” She also
maintains that counsel told her that had he been paid his fees, he would have been
prepared. Defendant’s blanket allegation of counsel’s unpreparedness is utterly
conclusory. She has not provided any specific indication of what counsel could or
should have done that would have altered the outcome of the case. Absent any such
specifics, the court cannot conclude that she has shown either deficient
performance or prejudice.
        Furthermore, her allegation appears to be without foundation.              Ronald
Johnson indicates in his affidavit that he is a Board Certified Criminal Trial Lawyer
with 32 years of experience as a criminal defense attorney. (Doc. 1350, exh. 2 at ¶2).
He states that he prepared the defendant’s case for trial to the best of his ability,


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reviewing all documents he felt necessary to prepare for trial, and interviewing
witnesses. The invoices attached to counsel’s affidavit indicate that he spent over
500 hours on defendant’s case before trial even began. Another exhibit to the
affidavit purports to show boxes containing “most of the exhibits that were
generated to defend the defendant’s case.” (Doc. 1350, exh. 2 at ¶ 9 and exh. 3).


2. Failure to advise defendant of right to testify
        Defendant next claims that counsel failed to advise her of her right to testify
in her own behalf. It is axiomatic that a criminal defendant has the right to testify in
his or her own defense. Rock v. Arkansas, 483 U.S. 44, 49, 107 S.Ct. 2704, 2708, 97
L.Ed.2d 37 (1987); McGriff v. Dept. of Corrections, 338 F.3d 1231, 1237 (11th Cir.
2003); Gallego v. United States, 174 F.3d 1196, 1197 (11th Cir. 1999); United States v.
Teague, 953 F.2d 1525, 1534 (11th Cir. 1992). This right is fundamental and personal
to the defendant, such that it may not be effectively waived by counsel against the
defendant’s will. Gallego, 174 F.3d at 1197; Teague, 953 F.2d at 1532; Sexton v.
French, 163 F.3d 874, 885 (4th Cir. 1998); cf. United States v. Brown, 217 F.3d 247,
258-59 (5th Cir. 2000) (finding that a strong-willed defendant who changed his mind
about testifying likely did so as a result of persuasion rather than coercion); Emery
v. Johnson, 139 F.3d 191, 199 (5 th Cir.1997) (same). When “[u]naccompanied by
coercion, legal advice concerning exercise of the right to testify infringes no right
... but simply discharges defense counsel’s ethical responsibility to the accused.”
Lema v. United States, 987 F.2d 48, 52 (1st Cir. 1993).
        The appropriate vehicle for a claim that the defendant's right to testify was
violated by defense counsel is a claim of ineffective assistance of counsel under
Strickland, as the defendant brings in this case. Gallego v. United States, 174 F.3d
1196, 1197 (11th Cir. 1999); Teague, 953 F.2d at 1534; United States v. Brown, 217
F.3d 247, 258-59 (5th Cir. 2000). Although under the Strickland ineffective-assistance
standard “‘the decision whether to put a Defendant on the stand is a ‘judgment call’


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which should not easily be condemned with the benefit of hindsight,’ ... it cannot be
permissible trial strategy, regardless of its merits otherwise, for counsel to override
the ultimate decision of a defendant to testify contrary to his advice.” United States
v. Mullins, 315 F.3d 449, 453 (5th Cir. 2002) (citation omitted). Counsel’s performance
is deemed deficient if “counsel refused to accept the defendant’s decision to testify
and would not call him to the stand . . . . Alternatively, if defense counsel never
informed the defendant of the right to testify, and that the ultimate decision belongs
to the defendant,” defense counsel’s performance would be deemed deficient.
United States v. Camacho, 40 F.3d 349, 355 (11th Cir. 1994) (quoting Teague, 953 F.2d
at 1534). A finding that counsel’s performance was not deficient ends the inquiry.
Gallego, Camacho, Teague, supra. However, because the Strickland standard
applies, even if counsel’s performance was deficient, a defendant will not be entitled
to relief if no prejudice inured. United States v. Willis, 273 F.3d 592, 598 (5th Cir.
2001); Brown v. Artuz, 124 F.3d 73, 80-81 (2nd Cir. 1997) (defendant had not
established prejudice since the testimony he would have given would not have
established a defense to the charges under state law); Soto-Alvarez v. United States,
62 F.3d 1411, 1995 WL 434799 (1st Cir. 1995) (no prejudice since defendant’s
testimony would not have brought any new information to the jury’s attention);
Nilsen v. Borg, 41 F.3d 1513, 1994 WL 651941 (9th Cir. 1994) (no prejudice since jury
would likely have found defendant’s testimony implausible).
        “Courts have observed that allowing a bare assertion of a right-to-testify
violation to precipitate the further investment of judicial resources is problematic.”
United States v. Martinez, 181 F.3d 627, *628 (5th Cir. 1999). Such claims may be the
subject of summary dismissal and do not always require a hearing. Underwood v.
Clark, 939 F.2d 473, 476 (7th Cir. 1991)(stating that a conclusory assertion by a
defendant that his right to testify was denied him is insufficient to require a hearing
because “[i]t just is too facile a tactic to be allowed to succeed”); Walker v. United
States, 238 F.3d 426, 2000 WL 1871681 (6th Cir. 1999) (no hearing required);United


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States v. Adams, 198 F.3d 238, 1999 WL 812352, **1 (4th Cir.) (claim was properly
dismissed without a hearing).
        Defendant maintains that neither her attorney nor the court advised her that
she had the right to testify and that the decision whether or not to testify rested with
her, and not with counsel. She now maintains that had she been aware that it was
her personal right to testify, she would have done so. Defendant does not set forth
the nature of the testimony she claims she would have given, or how it would have
affected the outcome of her case, as required by the case law set forth above. She
merely makes a conclusory claim that there is a reasonable probability that but for
her trial counsel’s unprofessional errors, the result of the proceeding would have
been different.
        Counsel presents a conflicting version of events in his affidavit. He states that
he never advised the defendant not to testify, but told her that it was her personal
decision. (Doc. 1350, exh. 2 at ¶ 7). He further states that he and his client both felt
that Ms. Rose would have a difficult time withstanding the cross-examination of
AUSA Heldmeyer if she chose to testify, and that ultimately his client decided not to
testify. (Id.)
        Defendant also claims that the court did not inform her that the decision to
testify rested with her. An overwhelming majority of the circuits have held that a
district court generally has no duty to explain to the defendant that he or she has a
right to testify or to verify that the defendant who is not testifying has waived the
right voluntarily. See United States v. Van de Walker, 141 F.3d 1451 (11th Cir. 1998);
United States v. Leggett, 162 F.3d 237, 246 (3rd Cir. 1998)(citing cases from nine
courts of appeals); United States v. Richardson, 195 F.3d 192, 197-198 (4 th Cir. 1999).
Some courts have held that a waiver may be inferred from the defendant’s conduct
if she or he does not alert the trial court of a disagreement with counsel as to




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whether he should testify.3 Gonzalez v. Elo, 233 F.3d 348, 357 (6th Cir. 2000); United
States v. Webber, 208 F.3d 545, 552 (6th Cir. 2000); United States v. Joelson, 7 F.3d
174, 177 (9th Cir. 1993); United States v. Edwards, 897 F.2d 445, 447 (9th Cir.), cert.
denied, 498 U.S. 1000, 111 S.Ct. 560, 112 L.Ed.2d 567 (1990); United States v.
Kamerud, 326 F.3d 1008, 1017 (8 th Cir. 2003) (“if an accused desires to exercise [his]
constitutional right to testify the accused must act affirmatively and express to the
court [his] desire to do so at the appropriate time or a knowing and voluntary waiver
of the right is deemed to have occurred.”) (citation omitted). While the court is not
surprised to encounter factual misrepresentations in the submissions of pro se
litigants, defendant is represented by counsel in this case. Therefore, the fact that
this assertion is indisputably contradicted by the record is troubling.                                  At the
conclusion of the proceedings on April 3, 2001, the following colloquy took place:
        THE COURT: All right. I want to address all of you and be sure that you
        understand your rights in this case with regard to testifying or not
        testifying. And I want to be sure that you understand that you have the
        right to remain silent, and that cannot be held against you. You have
        heard me advise the jury of that already and I will do so again in the
        closing instructions. And do each of you understand that you have that
        right to remain silent and not testify in your case?

        ******

        DEFENDANT ROSE: Yes, sir.

        THE COURT: But it is important for you to also know that you have the
        right to testify in your case. And you can do that with your own
        choosing. Do each of you understand that?

        ******

        3
           “[I]n exceptional, narrowly defined circumstances, judicial interjection through a direct colloquy with
the defendant may be required to ensure that the defendant's right to testify is protected.” United States v.
Pennycooke, 65 F.3d 9, 12 (3 rd Cir. 1995). The Pennycooke court's illustration of an “exceptional
circumstance” was a defendan t who repe atedly interru pted the trial to express his desire to testify and
interjected that his attorney was lying when his attorney told the court that the attorney and the defendant had
made a joint decision tha t the de fendan t wou ld not testify. Id. at 12 (citing Ortega v. O'Leary, 843 F.2d 258
(7 th Cir.19 88)).

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        DEFENDANT ROSE: Yes, sir.

        THE COURT: But more importantly, do you understand that that is a
        decision for you to make and no one else, not your attorney, not your
        family, not your friends, not your co-defendants, anyone? That is your
        own personal decision to make. Do you understand that?

        ******

        DEFENDANT ROSE: Yes, sir.

        THE COURT: All right. The way that I want to leave this is that your
        attorney will be speaking for you, of course. And if your attorney rests
        your case without calling you as a witness, then I’m assuming that you
        agree with that, unless I see your hand waving and get my attention. I’ll
        know what you’re talking about and we’ll solve the problem right then
        and there.
               On the other hand, if your attorney calls you as a witness and it
        is your personal decision that you do not want to testify, in like manner,
        just wave your hand and we’ll take care of it. But if you take the
        witness stand and give testimony, then that’s going to indicate for the
        record that that is your personal decision to take the witness stand and
        testify. Do you understand that?

        ******

        DEFENDANT ROSE: Yes, sir.

        THE COURT: Any of you have any questions about that, how we’ll work
        it or what the expectations are?

(Doc. 872 at 292-295). Ignoring for the moment that defendant failed to show
prejudice because she failed to explain what her outcome-altering testimony would
have been, and resolving the conflict between defendant’s sworn motion and
counsel’s affidavit to the contrary in defendant’s favor, her claim fails. The court
clearly explained the defendant’s rights to her, in direct contradiction to the
assertion in her sworn motion, and thus she has not shown that she was denied a
fundamental constitutional right.


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3. Ineffective assistance of counsel at Sentencing
        Defendant claims that counsel was ineffective at sentencing when he did not
properly prepare, investigate or present arguments to the district court regarding
applicable federal sentencing guidelines and restitution issues. Counsel notes in
his affidavit that he made numerous objections to the defendant’s pre-sentence
investigation report and submitted an extensive sentencing memorandum to the
court. (Doc. 1350, exh. 2 at ¶ 8). These objections were discussed at a lengthy
sentencing proceeding, after which defendant was sentenced to the bottom of the
applicable guideline range. (Doc. 884). As noted above, in the case of alleged
sentencing errors, defendant need only demonstrate that there would have been
some difference in her sentence, not necessarily an enormous one, as “any amount
of actual jail time has Sixth Amendment significance.” Glover v. United States, 531
U.S. 198, 203-04, 121 S.Ct. 696, 700-01, 148 L.Ed.2d 604 (2001). Again, however,
defendant’s claim fails because she has failed to state with specificity what
arguments could have been made that would have altered the outcome of the
proceedings, and her conclusory assertions do not entitle her to relief. Tejada,
supra.


B. Conflict of Interest
        Defendant’s last claim is that her attorney labored under an actual conflict of
interest, because co-defendant David Johnson was represented at trial by counsel’s
law partner, Roy Kinsey. Defendant states in her motion that neither she nor her co-
defendant executed any signed waiver concerning the dual representation. She also




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maintains that although the court was alerted to the “necessity” for a Garcia4
hearing under Fed.R.Cr.P. 44(c),5 it did not hold such a hearing.
         Defendant has not submitted an affidavit in support of the instant § 2255
motion, although in a previously filed affidavit she stated that she was advised that
a potential conflict existed, but that counsel opined it did not present a problem.
(Doc. 791, affidavit of Melody Rose dated October 11, 2001, submitted as an exhibit
to her Motion for Bond Pending Appeal). She further stated that she did not waive
her right to have independent and conflict free counsel prior to or during the course
of the trial.         Defense counsel states in his affidavit, submitted in support of the
instant motion, that the defendant was advised of a potential conflict with co-
defendant David Johnson when she hired counsel’s firm, but that she explained she
did not feel a conflict existed, and waived any potential conflict that might arise,
although the purported waiver was not in writing. (Doc. 1350, exh. 2).
         On the first day of trial, Ron Johnson, counsel for the defendant, brought the
issue of a potential conflict to the court’s attention. The following discussion took
place:
         MR. JOHNSON: Your Honor, I represent Ms. Rose.                                   Roy Kinsey
         represents David Johnson. One of Ms. Rose’s witnesses is a law
         partner to Mr. Johnson, Marty Grusin. We know of no real conflict in
         that, but I talked to the Government way back and they thought it might

         4
             Unite d State s v. Garcia, 517 F.2d 272 (5 th Cir. 1975).

         5
           Federal Rule of Criminal Procedure 44©) provides as follows:
          Inquiry Into Joint Representation.
(1) Joint Representation. Joint representation occurs when:
          (A) two or m ore defendants have been charged jointly under Rule 8(b) or have been joined for trial
under Rule 13; and
          (B) the defendants a re rep resente d by the same counsel, or counsel who are associated in law
practice.
(2) Court's Responsibilities in Cases of Joint Representation. The court must promptly inquire about the
prop riety of joint re pres enta tion and m ust persona lly advise each defen dant of the right to the effective
assistance of cou nse l, including sep arate representation. Unless there is good cause to believe that no conflict
of interest is likely to arise, the court must take appropriate measures to protect each defendant's righ t to
counsel.

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        be better if we did have a Garcia hearing to have them recognize the
        potential conflict and to waive that. I don’t know if that’s still a concern
        of them or not.
        MS. HELDMYER: I would certainly prefer to have a Garcia hearing on
        the record.
        THE COURT: Aimed toward what? Maybe I’m not fully comprehending
        what.
        MR. JOHNSON: Mr. Johnson’s law partner advised Ms. Rose on some
        of the circumstances surrounding this, some contracts. He had no
        involvement really in the charges involving Mr. Johnson, but just since
        they’re in the same law firm and a potential spillover affect, just in an
        abundance of caution we thought it might be better if they waived the
        potential conflict.
        THE COURT: Well, I guess I’m having a little trouble determining how
        there would be a conflict. Mr. Kinsey, how do you see it?
        MR. KINSEY: Judge, I don’t see the conflict being there.               I can
        understand Mr. Johnson’s, Mr. Ron Johnson’s concerns, but I
        personally do not see a legal conflict.
        THE COURT: When would that person be testifying?
        MR. JOHNSON: I don’t think the Government has him subpoenaed. It’s
        a potential defense witness.
        THE COURT: Can we just leave that open for one of our hopeful days
        when we consider one of those matters.
(Doc. 561, at 5-6). No hearing was ever held.
        The defendant claimed on appeal that her trial counsel labored under an
actual conflict of interest. In support of her claim of actual conflict she referenced
her affidavit in support of her motion for release on bond in which she claimed that
her good faith reliance on advice of counsel defense was compromised because


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counsel did not call an attorney as a defense witness because of his concern about
how the testimony of a lawyer-witness would affect the defense of the lawyer-
defendant who was the firm’s other client. In its opinion, the Eleventh Circuit noted
that a technical violation of Rule 44(c) does not require automatic reversal. (Doc.
1186 at 17-18, citing United States v. Romero, 780 F.2d 981, 985 (11th Cir. 1986)). It
also found that because no actual conflict was intimated to the district court, the
record did not trigger a Garcia hearing. (Doc. 1186 at 19, citing United States v.
DeSimone, 660 F.2d 532, 541 n.9 (5th Cir. Unit B 1981)). Finally, it stated that even if
the district court had erred under Rule 44©) and Garcia by not conducting an
appropriate hearing, this “will not mandate reversal absent an actual conflict of
interest.” (Doc. 1186 at 21-22, citing United States v. Mers, 701 F.2d 1321, 1326 (11th
Cir. 1983)).       The court denied relief because the record was not adequately
developed with respect to counsel’s potential conflict of interest due to remaining
questions of fact as to the effect of Martin Grusin’s testimony, counsel’s reasons for
not calling him, and whether, if there was a conflict, the defendant was properly
advised of her right to conflict-free counsel. (Doc. 1186 at 20-21).
        The United States Supreme Court has held that in order to demonstrate a Sixth
Amendment violation based on an attorney’s alleged conflict of interest, a defendant
must establish both an actual, rather than a speculative, conflict of interest and an
adverse effect on the lawyer’s performance. Cuyler v. Sullivan, 446 U.S. 335, 350,
100 S.Ct. 1708, 1719, 64 L.Ed.2d 333 (1980); see also Mickens v. Taylor, 535 U.S. 162,
122 S.Ct. 1237, 152 L.Ed.2d 291 (2002); Quince v. Crosby, 360 F.3d 1259, 1264 (11th
Cir. 2004); Burden v. Zant, 24 F.3d 1298, 1304 (11th Cir. 1994); United States v.
Novaton, 271 F.3d 968, 1010-1011 (11th Cir. 2001), cert. denied, 122 S.Ct. 2345 (2002).
“To succeed on an ineffective-assistance claim based on a conflict of interests, an
appellant must show specific instances in the record that ‘demonstrate that an
actual conflict of interest adversely affected his lawyer’s performance.’” Caderno
v. United States, 256 F.3d 1213, 1218 (11th Cir. 2001) (quoting Cuyler v. Sullivan, 446


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U.S. 335, 348, 100 S.Ct. 1708, 1718, 64 L.Ed.2d 333 (1980)). In order to prove an
adverse effect, defendant must show (1) a plausible alternative defense strategy that
counsel might have pursued; (2) that the alternative strategy was reasonable; and
(3) some link between the actual conflict and the decision to forego that strategy.
Brownlee v. Haley, 306 F.3d 1043, 1064 n.7 (11th Cir. 2002). Once the defendant has
established both actual conflict and adverse impact, she need not show prejudice
to procure reversal of her conviction, because in the case of actual conflict,
prejudice may be presumed.6 Burden, 24 F.3d at 1304-05 (citing Burger v. Kemp, 483
U.S. 776, 783, 107 S.Ct. 3114, 3120, 97 L.Ed.2d 638 (1987); Porter v. Singletary, 14
F.3d 554, 560 (11th Cir. 1994), Danner v. United States, 820 F.2d 1166, 1169 (11th Cir.
1987)).
        Defendant claims that when she was first approached by David Gilliland to
work for him, she consulted Marty Grusin, the attorney for her employer United
American Bank, for his assessment of Gilliland and the offer, as well as advice as
to whether she should associate with Gilliland. She does not specifically say what
advice she received, but obviously she chose to proceed. The defendant later
retained another attorney, Jack McCahill, for advice on issues concerning her
obligations with respect to a receivership, and Mr. McCahill advised her that
pursuant to her agreement with the investors, she had to distribute funds to them
despite Quilling’s desire to collect all the funs for pro rata distribution to all
investors. McCahill was called as a witness at trial, but defendant contends that
Grusin’s testimony was critical to the issue of whether she was acting in good faith
and on advice of counsel when she first joined him.
        Defendant next contends that good faith reliance on advice of counsel was a
viable defense.          In fact that was the defense she presented, and appropriate
instructions were given to the jury.



        6
            The difference between “adverse impact” and prejudice is not explained in Burden.

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        Defendant’s argument fails with respect to the link between the actual conflict
and the decision to forgo the alternative defense. She states that “rather out of fear
of creating a problem for Grusin’s law partner and Rose’s co-defendant, David
Johnson, Rose’s trial counsel in consultation with his law partner and trial counsel
for the co-defendant, Roy Kinsey, opted not to call Grusin.” (Doc. 1298 at 19). In the
affidavit she submitted as an exhibit to her Motion for Bond Pending Appeal she
stated:
        ... Ron Johnson decided against calling one attorney as a defense
        witness because, in his opinion, it would create problems for David
        Johnson, the other client of the law firm . . . In retrospect, I believe the
        decision not to call martin Grusin or Hugh Odom was impacted by
        counsel’s concern over how the testimony of a lawyer-witness would
        affect the defense of David Johnson, a lawyer-defendant, who was the
        firm’s other client. The details of my reliance on counsel was
        compromised by my attorney because of his concerns outside of my
        best interest.

(Doc. 791, affidavit of Melody Rose dated October 11, 2001, submitted as an exhibit
to her Motion for Bond Pending Appeal).
        Despite defendant’s professed “belief,” she offers no reason why her interests
and those of co-defendant Johnson were inconsistent, and no suggestion as to why
Grusin’s testimony could have harmed Johnson in any way. Furthermore, the
government notes that the attorney she consulted was an unindicted co-conspirator,
so the likelihood of his testifying was very slim. Trial counsel states in his affidavit
that he interviewed both Martin Grusin and another attorney, Hugh Odom, as
potential witnesses for the defense, but that he and the defendant both believed it
was in her best interest not to call them. (Doc. 1350, exh. 2). Counsel also notes
that the substance of Mr. Grusin’s testimony was developed from other witnesses
throughout the trial. Finally, with respect to Grusin’s potential testimony as
proffered by the defendant, the government addresses each area of testimony in
turn, asserting that it was irrelevant, inadmissible, repetitive of other testimony or


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damaging to the defendant. The government’s evaluation of this testimony remains
unrebutted.
        Because defendant has failed to show that there was any link between the
decision to not call Mr. Grusin as a witness in her behalf and the “conflict” of dual
representation, that is that an actual conflict adversely affected counsel’s
representation of her, she has not shown that she is entitled to relief.


        Based on the foregoing, it is respectfully RECOMMENDED:
        The motion to vacate, set aside, or correct sentence (doc. 1298) be
DENIED.


        And it is ORDERED:
        In light of the fact that no reply brief was filed and the status of counsel’s
representation is unclear, the clerk is directed to send a copy of this
recommendation to both the defendant and her counsel of record.


        At Pensacola, Florida, this 12th day of December, 2005.



                                                  /s/   Miles Davis
                                                  MILES DAVIS
                                                  UNITED STATES MAGISTRATE JUDGE



                                          NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed
within ten days after being served a copy thereof. A copy of objections shall be
served upon all other parties. Failure to object may limit the scope of appellate
review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d
698, 701 (11th Cir. 1988).


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